     Case 4:19-cr-00069-WTM-CLR Document 56 Filed 07/08/19 Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT FOR                   i.
                 THE SOUTHERN DISTRICT OF GEORGIA.
                                                         ':oiSJiiL-a ftHii: I I
                           SAVANNAH DIVISION


UNITED STATES OF AMERICA,


V.                                            Case No.     CR419-069


GILBERT BASALDUA, ET AL,
                 Defendants




      Jennifer G. Solari, counsel of record for the United States

of America in the above-styled case has moved for leave of absence.

The Court is mindful that personal and professional obligations

require the absence of counsel on occasion. The Court, however,

cannot accommodate its schedule to the thousands of attorneys who

practice within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and          trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.



      SO ORDERED this     SI day of July 2019.



                                   WILLIAM T. MOORE, JR.
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
